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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------- x
                              :                   ECF CASE
HENRY TUCKER, ON BEHALF OF
HIMSELF AND ALL OTHER PERSONS :
                              :
SIMILARLY SITUATED,
                              :                   No.: 1:25-cv-03511
                              :
                 Plaintiffs,
                              :
                              :                   CLASS ACTION COMPLAINT
              v.
                              :
                              :                   JURY TRIAL DEMANDED
PUREFORMULAS, INC.,
                              :
                 Defendant.   :
                              :
----------------------------- x

                                       INTRODUCTION

       1.      Plaintiff, HENRY TUCKER, on behalf of himself and all other persons similarly

situated, asserts the following claims against Defendant, PUREFORMULAS, INC., as follows.

       2.      Plaintiff is a visually-impaired and legally blind person who requires screen-

reading software to read website content using his computer. Plaintiff uses the terms “blind” or

“visually-impaired” to refer to all people with visual impairments who meet the legal definition of

blindness in that they have a visual acuity with correction of less than or equal to 20 x 200. Some

blind people who meet this definition have limited vision. Others have no vision.

       3.      In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

       The Department [of Justice] first articulated its interpretation that the ADA applies to
       public accommodations’ websites over 20 years ago. This interpretation is consistent with
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        the ADA’s title III requirement that the goods, services, privileges, or activities provided
        by places of public accommodation be equally accessible to people with disabilities. 1

        4.       Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in

the United States are visually-impaired, including 2.0 million who are blind, and according to the

American Foundation for the Blind’s 2015 report, approximately 400,000 visually-impaired

persons live in the State of New York.

        5.       Plaintiff brings his civil rights action against PUREFORMULAS, INC.

(“Defendant” or “PureFormulas”), for its failure to design, construct, maintain, and operate its

interactive website to be fully accessible to and independently usable by Plaintiff and other blind

or visually-impaired persons. Defendant’s denial of full and equal access to its website, and

therefore denial of its products and services offered thereby, is a violation of Plaintiff’s rights under

the Americans with Disabilities Act (“ADA”).

        6.       Because      Defendant's      interactive     website,    https://www.pureformulas.com/,

including all portions thereof or accessed thereon (collectively, the “Website” or “Defendant’s

Website”), is not equally accessible to blind and visually-impaired consumers, it violates the ADA.

Plaintiff seeks a permanent injunction to cause a change in Defendant’s corporate policies,

practices, and procedures so that Defendant’s Website will become and remain accessible to blind

and visually-impaired consumers.

        7.       By failing to make its Website available in a manner compatible with computer

screen reader programs, Defendant deprives blind and visually-impaired individuals the benefits

of its online goods, content, and services—all benefits it affords nondisabled individuals—thereby



1 See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice, to Congressman Ted
Budd, U.S. House of Representatives (Sept. 25, 2018) (available at
https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf) (last accessed July 13,
2020).


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increasing the sense of isolation and stigma among those persons that Title III was meant to

redress.

         8.       “When Congress enacted the ADA in 1990, it intended for the ADA to keep pace

with the rapidly changing technology of our times. Since 1996, the Department of Justice has

consistently taken the position that the ADA applies to web content.” “Inaccessible web content

means that people with disabilities are denied equal access to information. An inaccessible website

can exclude people just as much as steps at an entrance to a physical location. Ensuring web

accessibility for people with disabilities is a priority for the Department of Justice. In recent years,

a multitude of services have moved online and people rely on websites like never before for all

aspects of daily living.” A website with inaccessible features can limit the ability of people with

disabilities to access a public accommodation’s goods, services, and privileges available through

that website.2 “For people with disabilities, website accessibility and other forms of accessible ICT

are necessities—not luxuries or conveniences—that foster independence, economic self-

sufficiency and active, meaningful participation in civic life. Although the Department has clearly

stated that the ADA applies to such digital spaces, the lack of specific requirements or technical

compliance standards incorporated in regulation has led to a widespread lack of meaningful digital

accessibility for people with disabilities.”3

         9.       This discrimination is particularly acute during the current COVID-19 global

pandemic. According to the Centers for Disease Control and Prevention (“CDC”), Americans




2 Justice Department Issued New Web Accessibility Guidance Under the Americans with Disabilities Act Titled
Guidance on Web Accessibility and the ADA (This guidance describes how state and local governments and
businesses open to the public can make sure that their websites are accessible to people with disabilities as required
by the Americans with Disabilities Act (ADA). https://beta.ada.gov/web-guidance/ Published March 16, 2022.
3
   “United States Senate Committee on the Judiciary.” United States Senate Committee on the Judiciary,
https://www.judiciary.senate.gov/durbin-duckworth-letter-to-garland-re-accessible-websites. Last accessed, June 22,
2022.


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living with disabilities are at higher risk for severe illness from COVID-19 and, therefore, are

recommended to shelter in place throughout the duration of the pandemic. 4 This underscores the

importance of access to online retailers, such as Defendant, for this especially vulnerable

population. The COVID-19 pandemic is particularly dangerous for disabled individuals. 5

         10.      “Nearly every aspect of modern life, particularly in a post-pandemic world, is

online in some way – housing, banking, voting, medicine, government and safety resources,

groceries, restaurant reservations and delivery, news, commerce, entertainment, and more. As the

online world evolves, it is critical that online content also evolves in an inclusive way to ensure

that people with disabilities – up to 1 in 4 adults in the United States, according to the CDC

(https://www.cdc.gov/ncbddd/disabilityandhealth/infographic-disability-impacts-all.html) – have

access to the information, services, and products they need, regardless of any vision, hearing,

physical, cognitive, or other impairments.”6

                                       JURISDICTION AND VENUE

         11.      The Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181

et seq., and 28 U.S.C. § 1332.




4
  See Centers for Disease Control and Prevention website, Coronavirus Disease 2019 (2019), available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-
risk.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fspecific-
groups%2Fhigh-risk-complications.html (last accessed July 13, 2020) (“Based on currently available information
and clinical expertise, older adults and people of any age who have serious underlying medical conditions might be
at higher risk for severe illness from COVID-19.”).
5
  See The New York Times, ‘It’s Hit Our Front Door’: Homes for the Disabled See a Surge of Covid-19 (2020),
available at https://www.nytimes.com/2020/04/08/nyregion/coronavirus-disabilities-group-homes.html?smid=fb-
nytimes&smtyp=cur (last accessed July 13, 2020) (“As of Monday, 1,100 of the 140,000 developmentally disabled
people monitored by the state had tested positive for the virus, state officials said. One hundred five had died — a
rate far higher than in the general population”).
6
  In the Matter of ACCESSIBE INC., FTC Proposed Complaint 222-3156.


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        12.     The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiffs’

claims pursuant to New York State Human Rights Law, N.Y. Exec. Law Article 15 (“NYSHRL”),

New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq. (“NYCHRL”) and New

York State General Business Law § 349 (“GBL”).

        13.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1) and (2) because

Defendant conducts and continues to conduct a substantial and significant amount of business in

this District, Defendant is subject to personal jurisdiction in this District, and a substantial portion

of the conduct complained of herein occurred in this District.

        14.     Defendant is subject to personal jurisdiction in the Southern District of New York.

Defendant has been and is committing the acts or omissions alleged herein in the District that

caused injury and violated rights the ADA prescribes to Plaintiff and to other blind and other

visually-impaired consumers. A substantial part of the acts and omissions giving rise to Plaintiff’s

claims occurred in this District: on several separate occasions, Plaintiff has been denied the full

use and enjoyment of the facilities, goods, and services of Defendant's interactive Website while

attempting to access the Website from his home in New York, NY. These access barriers that

Plaintiff encountered have caused a denial of Plaintiff’s full and equal access multiple times in the

past, and now deter Plaintiff on a regular basis from visiting Defendant’s Website. This includes,

Plaintiff attempting to obtain information about Defendant’s: health supplements and vitamins, as

well as other types of goods, pricing, terms of service, refund and privacy policies.

        15.     Defendant participates in New York’s economic life by clearly performing business

over the Internet. Through its interactive Website, Defendant entered into contracts for the sale of

its products and services with residents of New York. These online sales contracts involve, and

require, Defendant’s knowing and repeated transmission of computer files over the Internet. See




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Reed v. 1-800-Flowers.com, Inc., 327 F. Supp. 3d 539 (E.D.N.Y. 2018) (exercising personal

jurisdiction over forum plaintiff’s website accessibility claims against out-of-forum website

operator); Andrews v. Blick Art Materials, LLC, 286 F. Supp. 3d 365 (E.D.N.Y. 2017); Ford Motor

Co. v. Mont. Eighth Judicial Dist. Court, 592 U. S. ____ (2021) (personal jurisdiction can be found

as long as the company conducted business in the consumer’s home state that relates in some way

to the consumer’s injuries, such as engaging in other transactions for similar products there); South

Dakota v. Wayfair, Inc., 585 U. S. ____ (2018); Godfried v. Ford Motor Co., 2021 US Dist LEXIS

87012 [D Me May 6, 2021, No. 1:19-cv-00372-NT]; Romero v. 88 Acres Foods, Inc., 2022 US

Dist LEXIS 9040 [SDNY Jan. 18, 2022, No. 20-cv-9215 (KMW)]; Sanchez v. NutCo, Inc., 2022

US Dist LEXIS 51247 [SDNY Mar. 22, 2022, No. 20-cv-10107 (JPO)]; Panarra v. HTC

Corporation [WDNY April 15, 2022, No. 6:20-cv-6991 (FPG-MWP), DKT. 53].

         16.   The Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201

and 2202.

                                          THE PARTIES

         17.   Plaintiff, HENRY TUCKER, at all relevant times, is a resident of New York, New

York.

         18.   Plaintiff is a blind, visually-impaired handicapped person and a member of a

protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and the regulations

implementing the ADA set forth at 28 CFR § 36.101 et seq., the NYSHRL, NYCHRL, and GBL

§ 349.

         19.   Defendant, PUREFORMULAS, INC., is and was, at all relevant times herein, a

Florida Profit Corporation registered with the Nevada Sect. of State as a Foreign Corporation with

its principal executive office located at 11800 NW 102 Road, Suite 2, Medley, FL 33178.




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         20.      Defendant, PUREFORMULAS, INC., operates the PureFormulas online retail

store, as well as the PureFormulas interactive Website and advertises, markets, and operates in the

State of New York and throughout the United States.

         21.      Defendant, PUREFORMULAS, INC., operates the PureFormulas online

interactive Website and retail store across the United States. This online interactive Website and

retail store constitute a place of public accommodation because it is a sales establishment.

Defendant's interactive Website provides consumers with access to an array of goods and services

including information about Defendant's: health supplements and vitamins, as well as other types

of goods, pricing, terms of service, refund, privacy policies and internet pricing specials.

Defendant’s interactive Website advertises, markets and/or operates in the State of New York and

across the United States.

         22.      Defendant's interactive Website and online retail store is a place of public

accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).7 Defendant’s

Website is a service, privilege, or advantage of Defendant’s interactive Website and online retail

store.

                                        NATURE OF ACTION

         23.      The Internet has become a significant source of information, a portal, and a tool for

conducting business, doing everyday activities such as shopping, learning, banking, researching,

as well as many other activities for sighted, blind and visually-impaired persons alike.




7 [M]ultiple district courts in this circuit — including this one — have held that websites qualify as places of public
accommodation, even when they are not attached to a traditional brick-and-mortar store. See Thorne, 2019 U.S. Dist.
LEXIS 220080, 2019 WL 6916098, at *2; see also Del-Orden, 2017 U.S. Dist. LEXIS 209251, 2017 WL 6547902,
at *5, 10). Jaquez v. Dermpoint, Inc., 2021 US Dist LEXIS 96067, at *7-8 [SDNY May 20, 2021, No. 20-cv-7589
(JPO)]; Panarra v. HTC Corporation [WDNY April 15, 2022, No. 6:20-cv-6991(FPG-MWP), DKT. 53]; Fernandez
v. Katie May, LLC [SDNY March 20, 2025, No. 24-CV-1592 (VEC), DKT. 28]; Fernandez v. Vanilla Chip, LLC
[SDNY April 18, 2025, No. 24-CV-5639 (JLR), DKT. 15].


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         24.   In today’s tech-savvy world, blind and visually-impaired persons have the ability

to access websites using keyboards in conjunction with screen access software that vocalizes the

visual information found on a computer screen or displays the content on a refreshable Braille

display. This technology is known as screen-reading software. Screen-reading software is currently

the only method a blind or visually-impaired person may independently utilize in order to access

the internet. Unless websites are designed to be read by screen-reading software, blind and

visually-impaired persons are unable to fully access websites, and the information, products, and

services contained thereon.

         25.   Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen reading software programs available to them. Some of

these programs are available for purchase and other programs are available without the user having

to purchase the program separately. Job Access With Speech, otherwise known as “JAWS” is

currently the most popular, separately purchased and downloaded screen-reading software

program available for a Windows computer.

         26.   For screen-reading software to function, the information on a website must be

capable of being rendered into text. If the website content is not capable of being rendered into

text, the blind or visually-impaired user is unable to access the same content available to sighted

users.

         27.   The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web Content

Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established guidelines for making

websites accessible to blind and visually-impaired persons. These guidelines are universally

followed by most large business entities and government agencies (including the U.S. Dept. of




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Justice) to ensure their websites are accessible and have been recognized by Courts universally as

the proper standard.

        28.    Non-compliant websites pose common access barriers to blind and visually-

impaired persons. Common barriers encountered by blind and visually-impaired persons include,

but are not limited to, the following:

               a.      A text equivalent for every non-text element is not provided;

               b.      Title frames with text are not provided for identification and navigation;

               c.      Equivalent text is not provided when using scripts;

               d.      Forms with the same information and functionality as for sighted persons

are not provided;

               e.      Information about the meaning and structure of content is not conveyed by

more than the visual presentation of content;

               f.      Text cannot be resized without assistive technology up to 200% without

losing content or functionality;

               g.      If the content enforces a time limit, the user is not able to extend, adjust or

disable it;

               h.      Web pages do not have titles that describe the topic or purpose;

               i.      The purpose of each link cannot be determined from the link text alone or

from the link text and its programmatically determined link context;

               j.      One or more keyboard operable user interface lacks a mode of operation

where the keyboard focus indicator is discernible;

               k.      The default human language of each web page cannot be programmatically

determined;




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               l.      When a component receives focus, it may initiate a change in context;

               m.      Changing the setting of a user interface component may automatically cause

a change of context where the user has not been advised before using the component;

               n.      Labels or instructions are not provided when content requires user input,

which include captcha prompts that require the user to verify that he or she is not a robot;

               o.      In content which is implemented by using markup languages, elements do

not have complete start and end tags, elements are not nested according to their specifications,

elements may contain duplicate attributes and/or any IDs are not unique;

               p.      Inaccessible Portable Document Format (PDFs); and

               q.      The name and role of all User Interface elements cannot be

programmatically determined; items that can be set by the user cannot be programmatically set;

and/or notification of changes to these items is not available to user agents, including assistive

technology.

                                STATEMENT OF FACTS

                               Defendant’s Barriers on Its Website

       29.     Defendant offers the commercial website, https://www.pureformulas.com/, to the

public. The Website offers features which should allow all consumers to access the goods and

services offered by Defendant and which Defendant ensures delivery of such goods and services

throughout the United States including New York State. The goods and services offered by

Defendant’s Website include information about Defendant's: health supplements and vitamins, as




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well as other types of goods, pricing, terms of service, refund, privacy policies and internet pricing

specials.

       30.     It is, upon information and belief, Defendant’s policy and practice to deny Plaintiff,

along with other blind or visually-impaired users, access to Defendant’s Website, and to therefore

specifically deny the goods and services that are offered thereby. Due to Defendant’s failure and

refusal to remove access barriers to its Website, Plaintiff and visually-impaired persons have been

and are still being denied equal access to Defendant’s numerous goods, services and benefits

offered to the public through the Website.

       31.     Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

without the assistance of screen-reading software. Plaintiff is, however, a proficient JAWS screen-

reader user and uses it to access the Internet. Plaintiff has visited the Website on separate occasions

using the JAWS screen-reader.

       32.     During Plaintiff’s visits to the Website, the last occurring on April 18, 2025, in an

attempt to purchase Men’s Multivitamins from Defendant and to view the information on the

Website, Plaintiff encountered multiple access barriers that denied Plaintiff a shopping experience

similar to that of a sighted person and full and equal access to the goods and services offered to

the public and made available to the public; and that denied Plaintiff the full enjoyment of the

goods, and services of the Website by being unable to purchase Men’s Multivitamins, as well as

other products available online and to ascertain information relating to Defendant's: health

supplements and vitamins, as well as other types of goods, pricing, privacy policies and internet

pricing specials.

       33.     Plaintiff visited the Website in order to purchase Men’s Multivitamins. Plaintiff

attempted to purchase Men’s Multivitamins but was unable to locate pricing and was not able to




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add the item[s] to the cart due to broken links, pictures without alternate attributes and other

barriers on Defendant’s Website, which prevented him from doing so. Plaintiff has previously

purchased wellness products online and wanted to patronize Defendant because Defendant claims

that:

                   “At PureFormulas, we’ve been passionate about health and wellness since 2005.
                   As a family-owned company, we started out small and humble, laying down our
                   roots in a modest office space in South Florida.
                   We’ve come a long way since then! While we’re not as small as we once were, our
                   core values have remained the same. Holding on to our family spirit and integrity
                   has been vital in everything we do. We bring that care, compassion, and
                   commitment to all things good—and that are good for you. We treat our customers
                   like family.”8

           34.     Plaintiff has suffered and continues to suffer frustration and humiliation as a result

of the discriminatory conditions present on Defendant’s Website. These discriminatory conditions

continue to contribute to Plaintiff's sense of isolation and segregation.

           35.     Plaintiff has been discriminated against by Defendant’s conduct and violations of

the statues and regulations set forth herein by being treated unequally from sighted persons due

Plaintiff’s disability and Plaintiff has suffered and continues to suffer injury as a result of

Defendant’s discriminatory practices.

           36.     Plaintiff intends to immediately revisit the Website to purchase Men’s

Multivitamins from Defendant and to ascertain the information stated above the moment that the

access barriers are removed from the Website.

           37.     While attempting to navigate the Website, Plaintiff encountered multiple

accessibility barriers for blind or visually-impaired persons that include, but are not limited to, the

following:




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    https://www.pureformulas.com/ last accessed on April 18, 2025


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               a.      Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text is an

invisible code embedded beneath a graphical image on a website. Web accessibility requires that

alt-text be coded with each picture so that screen-reading software can speak the alt-text where a

sighted user sees pictures, which includes captcha prompts. Alt-text does not change the visual

presentation, but instead a text box shows when the keyboard moves over the picture. The lack of

alt-text on these graphics prevents screen readers from accurately vocalizing a description of the

graphics. As a result, Defendant’s visually-impaired consumers are unable to determine what is on

the website, browse, or make any purchases;

               b.      Empty Links That Contain No Text causing the function or purpose of the

link to not be presented to the user. They can introduce confusion for keyboard and screen-reader

users;

               c.      Redundant Links where adjacent links go to the same URL address which

results in additional navigation and repetition for keyboard and screen-reader users; and

               d.      Linked Images Missing Alt-text, which causes problems if an image within

a link contains no text, and that image does not provide alt-text. A screen reader then has no content

to present the user as to the function of the link, including information contained in PDFs.

         38.   Many pages on the Website also contain the same title elements. This is a problem

for the visually-impaired because the screen reader fails to distinguish one page from another. In

order to fix this problem, Defendant must change the title elements for each page.

         39.   The Website also contained a host of broken links, which is a hyperlink to a non-

existent or empty webpage. For the visually-impaired this is especially paralyzing due to the

inability to navigate or otherwise determine where one is on the Website once a broken link is

encountered. For example, upon coming across a link of interest, Plaintiff was redirected to an




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error page. However, the screen-reader failed to communicate that the link was broken. As a result,

Plaintiff could not get back to his original search.

                       Defendant Must Remove Barriers To Its Website

       40.      Due to the inaccessibility of Defendant’s Website, blind and visually-impaired

consumers such as Plaintiff, who need screen-readers, cannot fully and equally use or enjoy the

goods, and services Defendant offers to the public on its Website. The access barriers Plaintiff

encountered have caused a denial of Plaintiff’s full and equal access in the past, and now deter

Plaintiff on a regular basis from accessing the Website.

       41.      These access barriers on Defendant’s Website have deterred Plaintiff from visiting

Defendant’s Website and enjoying it equal to sighted individuals because: Plaintiff was unable to

use and enjoy the Website in the same manner as sighted individuals do, preventing Plaintiff from

using the Website to purchase and to view the Men’s Multivitamins, and obtain the information

stated above.

       42.      If the Website was equally accessible to all, Plaintiff could independently navigate

the Website and view the Website or complete a desired transaction as sighted individuals do.

       43.      Through his attempts to use the Website, Plaintiff has actual knowledge of the

access barriers that make these services inaccessible and independently unusable by blind and

visually-impaired persons.

       44.      Because simple compliance with the WCAG 2.0 Guidelines would provide Plaintiff

and other visually-impaired consumers with equal access to the Website, Plaintiff alleges that

Defendant has engaged in acts of intentional discrimination, including, but not limited to, the

following policies or practices:




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                a.     Constructing and maintaining a website that is inaccessible to visually-

impaired individuals, including Plaintiff;

                b.     Failure to construct and maintain a website that is not sufficiently intuitive

so as to be equally accessible to visually-impaired individuals, including Plaintiff; and

                c.     Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually-impaired persons, such as Plaintiff, as a

member of a protected class.

       45.      Defendant therefore uses standards, criteria or methods of administration that have

the effect of discriminating or perpetuating the discrimination of others, as alleged herein.

       46.      The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to alter
       facilities to make such facilities readily accessible to and usable by individuals with
       disabilities . . . Where appropriate, injunctive relief shall also include requiring the . . .
       modification of a policy . . .

42 U.S.C. § 12188(a)(2).

       47.      Because Defendant’s Website is not and has never been fully accessible, and

because, upon information and belief, Defendant does not have, and has never had, adequate

corporate policies that are reasonably calculated to cause its Website to become and remain

accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seek a permanent injunction requiring

Defendant to:

       a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility Consultant”)
       who shall assist in improving the accessibility of its Website, including all third-party
       content and plug-ins, so the goods and services on the Website may be equally accessed
       and enjoyed by visually-impaired persons;




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b) Work with the Web Accessibility Consultant to ensure all employees involved in
Website and content development be given web accessibility training on a biennial basis,
including onsite training to create accessible content at the design and development stages;

c) Work with the Web Accessibility Consultant to perform an automated accessibility audit
on a periodic basis to evaluate whether Defendant’s Website may be equally accessed and
enjoyed by visually-impaired persons on an ongoing basis;

d) Work with the Web Accessibility Consultant to perform end-user accessibility/usability
testing on at least a quarterly basis with said testing to be performed by humans who are
blind or have low vision, or who have training and experience in the manner in which
persons who are blind use a screen reader to navigate, browse, and conduct business on
websites, in addition to the testing, if applicable, that is performed using semi-automated
tools;

e) Incorporate all of the Web Accessibility Consultant’s recommendations within sixty (60)
days of receiving the recommendations;

f) Work with the Web Accessibility Consultant to create a Web Accessibility Policy that
will be posted on its Website, along with an e-mail address, instant messenger, and toll-
free phone number to report accessibility-related problems;

g) Directly link from the footer on each page of its Website, a statement that indicates that
Defendant is making efforts to maintain and increase the accessibility of its Website to
ensure that visually-impaired persons have full and equal enjoyment of the goods, services,
facilities, privileges, advantages, and accommodations of Defendant’s Website;

h) Accompany the public policy statement with an accessible means of submitting
accessibility questions and problems, including an accessible form to submit feedback or
an email address to contact representatives knowledgeable about the Web Accessibility
Policy;

i) Provide a notice, prominently and directly linked from the footer on each page of its
Website, soliciting feedback from visitors to the Website on how the accessibility of the
Website can be improved. The link shall provide a method to provide feedback, including
an accessible form to submit feedback or an email address to contact representatives
knowledgeable about the Web Accessibility Policy;

j) Provide a copy of the Web Accessibility Policy to all web content personnel, contractors
responsible for web content, and Client Service Operations call center agents (“CSO
Personnel”) for the Website;

k) Train no fewer than three of its CSO Personnel to automatically escalate calls from users
with disabilities who encounter difficulties using the Website. Defendant shall have trained
no fewer than three of its CSO Personnel to timely assist such users with disabilities within
CSO published hours of operation. Defendant shall establish procedures for promptly



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       directing requests for assistance to such personnel including notifying the public that
       customer assistance is available to users with disabilities and describing the process to
       obtain that assistance;

       l) Modify existing bug fix policies, practices, and procedures to include the elimination of
       bugs that cause the Website to be inaccessible to users of screen reader technology; and

       m) Plaintiff, his counsel, and their experts monitor the Website for up to two years after
       the Mutually Agreed Upon Consultant validates the Website are free of accessibility
       errors/violations to ensure Defendant has adopted and implemented adequate accessibility
       policies. To this end, Plaintiff, through his counsel and their experts, shall be entitled to
       consult with the Web Accessibility Consultant at their discretion, and to review any written
       material, including, but not limited to, any recommendations the Website Accessibility
       Consultant provides Defendant.

       48.     Web-based technologies have features and content that are modified on a daily, and

in some instances an hourly, basis, and a one time “fix” to an inaccessible website will not cause

the website to remain accessible without a corresponding change in corporate policies related to

those web-based technologies. To evaluate whether an inaccessible website has been rendered

accessible, and whether corporate policies related to web-based technologies have been changed

in a meaningful manner that will cause the website to remain accessible, the website must be

reviewed on a periodic basis using both automated accessibility screening tools and end user

testing by visually-impaired persons.

       49.     If the Website was accessible, Plaintiff and similarly situated blind and visually-

impaired persons could independently shop for and otherwise research Defendant’s products and

services via the Website and view the information thereon.

       50.     Although Defendant may currently have centralized policies regarding maintaining

and operating its Website, Defendant lacks a plan and policy reasonably calculated to make them

fully and equally accessible to, and independently usable by, blind and other visually-impaired

persons.




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       51.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining their Website and has generated significant revenue from the Website.

These amounts are far greater than the associated cost of making their Website equally accessible

to visually-impaired consumers.

       52.     Without injunctive relief, Plaintiff and other visually-impaired persons will

continue to be unable to independently use the Website, violating their rights.

                            CLASS ACTION ALLEGATIONS

       53.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the United

States who have attempted to access Defendant’s Website and as a result have been denied access

to the equal enjoyment of goods and services offered by Defendant’s Website, during the relevant

statutory period.

       54.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

New York State Sub-Class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals

in the State of New York who have attempted to access Defendant’s Website and as a result have

been denied access to the equal enjoyment of goods and services offered by Defendant’s Website,

during the relevant statutory period.

       55.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

New York City Sub-Class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in

the City of New York who have attempted to access Defendant’s Website and as a result have been

denied access to the equal enjoyment of goods and services offered by Defendant’s Website,

during the relevant statutory period.




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       56.     Common questions of law and fact exist amongst the Class and Sub-Classes,

including:

               a.      Whether Defendant’s Website is a “public accommodation” under the

ADA;

               b.      Whether Defendant’s Website is a “place or provider of public

accommodation” under the NYSHRL and NYCHRL;

               c.      Whether Defendant’s Website denies the full and equal enjoyment of its

goods, services, facilities, privileges, advantages, or accommodations to visually-impaired

persons, violating the ADA;

               d.      Whether Defendant’s Website denies the full and equal enjoyment of its

goods, services, facilities, privileges, advantages, or accommodations to visually-impaired

persons, violating the NYSHRL, NYCHRL, and GBL § 349; and

               e.      Whether Defendant’s Website and the unequal treatment of visually-

impaired persons constitute unlawful discrimination.

       57.     Plaintiff’s claims are typical of the Class and Sub-Classes. The Class, and Sub-

Classes, similarly to Plaintiff, are severely visually-impaired or otherwise blind persons, and claim

that Defendant has violated the ADA, NYSHRL, NYCHRL, and GBL § 349, by failing to update

or remove access barriers on its Website so it can be independently accessible to the Class and/or

the Sub-Classes.

       58.     Plaintiff will fairly and adequately represent and protect the interests of the Class

Members because Plaintiff has retained and is represented by counsel competent and experienced

in complex class action litigation, including ADA litigation and because Plaintiff has no interests

antagonistic to the Class Members. Class certification of the claims is appropriate under Fed. R.




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Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally applicable to

the Class, making appropriate both declaratory and injunctive relief with respect to Plaintiff and

the Class as a whole.

       59.     Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because fact and legal questions are common to Class Members predominate over questions

affecting only individual Class Members, and because a class action is superior to other available

methods for the fair and efficient adjudication of their litigation.

       60.     Judicial economy will be served by maintaining this lawsuit as a class action in that

it is likely to avoid the burden that would be otherwise placed upon the judicial system by the filing

of numerous similar suits by visually-impaired persons throughout the United States.

                          FIRST CAUSE OF ACTION
                 VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

       61.     Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

allegation of the preceding paragraphs as if fully set forth herein.

       62.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

       No individual shall be discriminated against on the basis of disability in the full and equal
       enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
       any place of public accommodation by any person who owns, leases (or leases to), or
       operates a place of public accommodation.

42 U.S.C. § 12182(a).

       63.     Defendant’s interactive Website and online retail store constitute a place of public

accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s

Website is a service, privilege, or advantage of Defendant’s online retail store.

       64.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities the opportunity to participate in or benefit from the goods,




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services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

       65.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities an opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodation, which is equal to the opportunities

afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

       66.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures, when
       such modifications are necessary to afford such goods, services, facilities, privileges,
       advantages, or accommodations to individuals with disabilities, unless the entity can
       demonstrate that making such modifications would fundamentally alter the nature of such
       goods, services, facilities, privileges, advantages or accommodations; and a failure to take
       such steps as may be necessary to ensure that no individual with a disability is excluded,
       denied services, segregated or otherwise treated differently than other individuals because
       of the absence of auxiliary aids and services, unless the entity can demonstrate that taking
       such steps would fundamentally alter the nature of the good, service, facility, privilege,
       advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       67.     The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder. Plaintiff, who is a member of a protected class of persons

under the ADA, has a physical disability that substantially limits the major life activity of sight

within the meaning of 42 U.S.C. § 12102(1)(A)-(2)(A). Furthermore, Plaintiff has been denied full

and equal access to the Website, has not been provided services that are provided to other patrons

who are not disabled, and has been provided services that are inferior to the services provided to

non-disabled persons. Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.




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          68.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

incorporated therein, Plaintiff, requests relief as set forth below.

                              SECOND CAUSE OF ACTION
                             VIOLATIONS OF THE NYSHRL

          69.   Plaintiff, on behalf of himself and the New York State Sub-Class Members, repeats

and realleges every allegation of the preceding paragraphs as if fully set forth herein.

          70.   N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice

for any person, being the owner, lessee, proprietor, manager, superintendent, agent or employee

of any place of public accommodation . . . because of the . . . disability of any person, directly or

indirectly, to refuse, withhold from or deny to such person any of the accommodations, advantages,

facilities or privileges thereof.”

          71.   Defendant’s Website operates in the State of New York and constitutes a place of

public accommodation within the definition of N.Y. Exec. Law § 292(9). Defendant’s Website is

a service, privilege or advantage of Defendant’s online retail establishment.

          72.   Defendant is subject to New York Human Rights Law because it owns and/or

operates its Website in the State of New York. Defendant is a person within the meaning of N.Y.

Exec. Law § 292(1).

          73.   Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove

access barriers to its Website, causing its Website and the services integrated therewith to be

completely inaccessible to the blind. Their inaccessibility denies blind patrons full and equal

access to the facilities, goods and services that Defendant makes available to the non-disabled

public.

          74.   Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice includes,

among other things, “a refusal to make reasonable modifications in policies, practices, or



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procedures, when such modifications are necessary to afford facilities, privileges, advantages or

accommodations to individuals with disabilities, unless such person can demonstrate that making

such modifications would fundamentally alter the nature of such facilities, privileges, advantages

or accommodations being offered or would result in an undue burden”.

       75.      Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice also

includes, “a refusal to take such steps as may be necessary to ensure that no individual with a

disability is excluded or denied services because of the absence of auxiliary aids and services,

unless such person can demonstrate that taking such steps would fundamentally alter the nature of

the facility, privilege, advantage or accommodation being offered or would result in an undue

burden.”

       76.      Readily available, well-established guidelines exist on the Internet for making

websites accessible to the blind and visually-impaired. These guidelines have been followed by

other large business entities and government agencies in making their website accessible,

including, but not limited to: adding alt-text to graphics and ensuring that all functions can be

performed using a keyboard. Incorporating the basic components to make its Website accessible

would neither fundamentally alter the nature of Defendant’s business nor result in an undue burden

to Defendant.

       77.      Defendant’s actions constitute willful intentional discrimination against the class

on the basis of a disability in violation of the NYSHRL, N.Y. Exec. Law § 296(2), in that

Defendant has:

                a.     constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or




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               b.      constructed and maintained a website that is not sufficiently intuitive and/or

obvious that it is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

       78.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       79.     Defendant discriminates, and will continue in the future to discriminate, against

Plaintiff and New York State Sub-Class Members on the basis of disability in the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

opportunities of Defendant’s Website under § 296(2) et seq., and/or its implementing regulations.

Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

Plaintiff and the Sub-Class Members will continue to suffer irreparable harm.

       80.     Defendant’s actions were and are in violation of New York State Human Rights

Law and therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.

       81.     Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines under N.Y. Exec. Law § 297(4)(c) et seq., for each and every offense.

       82.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       83.     Under N.Y. Exec. Law § 297 and the remedies, procedures and rights set forth and

incorporated therein Plaintiff prays for judgment as set forth below.




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                               THIRD CAUSE OF ACTION
                             VIOLATIONS OF THE NYCHRL

        84.     Plaintiff, on behalf of himself and the New York City Sub-Class Members, repeats

and realleges every allegation of the preceding paragraphs as if fully set forth herein.

        85.     N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place or provider of public accommodation, because of

. . . disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any of the

accommodations, advantages, facilities or privileges thereof.”

        86.     Defendant’s Website is an online sales establishment and a place of public

accommodation within the definition of N.Y.C. Admin. Code § 8-102(9), and the Website is a

service that is integrated with its online sales establishment.

        87.     Defendant is subject to NYCHRL because it owns and/or operates the Website

making it a person within the meaning of N.Y.C. Admin. Code § 8-102(1).

        88.     Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to

update or remove access barriers to Website, causing the Website and the services integrated

therewith to be completely inaccessible to the blind. The inaccessibility denies blind consumers

full and equal access to the facilities, goods, and services that Defendant makes available to the

non-disabled public.

        89.     Defendant is required to “make reasonable accommodation to the needs of persons

with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from

discriminating on the basis of disability shall make reasonable accommodation to enable a person

with a disability to . . . enjoy the right or rights in question provided that the disability is known or

should have been known by the covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).



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       90.     Defendant’s actions constitute willful intentional discrimination against the Sub-

Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and

§ 8-107(15)(a) in that Defendant has:

               a.      constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is not sufficiently intuitive and/or

obvious that it is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

       91.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       92.     As such, Defendant discriminates, and will continue in the future to discriminate,

against Plaintiff and members of the proposed class and Sub-Class on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages, accommodations

and/or opportunities of the Website under § 8-107(4)(a) and/or its implementing regulations.

Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

Plaintiff and members of the Sub-Class will continue to suffer irreparable harm.

       93.     Defendant’s actions were and are in violation of the NYCHRL and therefore

Plaintiff invokes his right to injunctive relief to remedy the discrimination.

       94.     Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense as well as

punitive damages pursuant to § 8-502.

       95.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.




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         96.    Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures and rights set forth and incorporated therein Plaintiff prays for judgment as set forth

below.

                                 FOURTH CAUSE OF ACTION
                                  VIOLATION OF GBL § 349

         97.    Plaintiff, on behalf of himself and the New York State Sub-Class Members, repeats

and realleges every allegation of the preceding paragraphs as if fully set forth herein.

         98.    GBL §349(a) prohibits all “deceptive acts or practices in the conduct of any

business, trade or commerce or in the furnishing of any service in this state.” See, Goshen v. Mutual

Life Ins. Co. of N.Y., 98 N.Y.2d 314, 324 [2002] and Himmelstein v. Matthew Bender & Co., 37

N.Y.3d 169 [2021].

         99.    As a direct result of the Defendant’s acts and practices alleged above, the Plaintiff

was unable to ascertain a full description of the product that the Plaintiff was interested in

purchasing from the Defendant.

         100.   The Plaintiff’s dilemma is the same situation as a sighted consumer going into a

supermarket wishing to purchase a food or healthcare item which is completely covered up and a

sign merely states the name of the product and perhaps the price. That would clearly be materially

deceptive and misleading because the consumer cannot read the label and learn, among other

things, the contents of the food or healthcare item or directions for its use or preparation. A blind

consumer, such as the Plaintiff, who shops on the internet and is blocked from information about

Defendant’s products due to barriers on the Defendant’s Website is just as mislead and deceived.

         101.   As a result, not only is the Plaintiff unable to obtain information about the product

the Plaintiff is also paying a premium for the product because the Plaintiff is unable to comparison

shop for the product with either other products offered on the Defendant’s Website or offered by



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other merchants. Thus, the Plaintiff suffers a pecuniary loss as a result of these deceptive or

misleading acts of the Defendant.

       102.    The Defendant’s conduct was consumer oriented since the Defendant’s Website

sells consumer products directed at consumer purchasers.

       103.    By blocking the Plaintiff from a full and complete description of the product that

the Plaintiff was interested in purchasing on the Website, these acts and practices of the Defendant

were deceptive or misleading in a material way.

       104.    The Plaintiff has suffered and continues to suffer frustration and humiliation as a

result of the deceptive or misleading acts on Defendant’s Website. These acts continue to

contribute to Plaintiff’s sense of isolation and segregation and the Plaintiff is thereby damaged.

       105.    Defendant has failed to take any prompt and equitable steps to remedy their

deceptive or misleading practices. These violations are ongoing.

       106.    Unless the Court enjoins Defendant from continuing to engage in these unlawful

practices, Plaintiff and members of the Sub-Class will continue to suffer irreparable harm.

       107.    Plaintiff is also entitled to compensatory damages for each offense as well as treble

damages pursuant to GBL §349 (h).

       108.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests the Court grant the following relief:

               a.      A preliminary and permanent injunction to prohibit Defendant from

violating the Americans with Disabilities Act, 42 U.S.C. § 12182 et seq., N.Y. Exec. Law § 296,

et seq., N.Y.C. Administrative Code § 8-107 et seq., GBL § 349, and the laws of New York;




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               b.      A preliminary and permanent injunction requiring Defendant to take all the

steps necessary to make its Website into full compliance with the requirements set forth in the

ADA, and its implementing regulations, so that the Website is readily accessible to and usable by

blind individuals, including the relief set forth in paragraph 47 which is incorporated herein as if

more fully set forth at length;

               c.      A declaration that Defendant owns, maintains and/or operates its Website

in a manner that discriminates against the blind and which fails to provide access for persons with

disabilities as required by Americans with Disabilities Act, 42 U.S.C. § 12182 et seq., N.Y. Exec.

Law § 296 et seq., N.Y.C. Administrative Code § 8-107 et seq., and the laws of New York and is

deceptive or misleading pursuant to GBL § 349;

               d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P. 23(a)

& (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class

Counsel;

               e.      Compensatory damages in an amount to be determined by proof, including

all applicable statutory and punitive and/or treble damages and fines, to Plaintiff and the proposed

class and Sub-Classes for violations of their civil rights under New York State Human Rights Law,

New York City Human Rights Law and for violations of GBL § 349;

               f.      Pre- and post-judgment interest;

               g.      An award of costs and expenses of the action;

               h.      Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §

36.505, including costs of monitoring Defendant’s compliance with the judgment (see

Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the




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Court surrenders jurisdiction. See also, Pennsylvania v. Delaware Valley Citizens’ Council for

Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987); see also Access Now,

Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11); and

              i.        Such other and further relief as this Court deems just and proper.

                                DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions of fact

the Complaint raises.

Dated: New York, New York
       April 29, 2025

                                                           GOTTLIEB & ASSOCIATES PLLC

                                                                               /s/ Dana L. Gottlieb
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